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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

DR. GAVIN CLARKSON, an individual,

Plaintiff,

                                                     Civ. No. 18-870 KRS/GBW
v.


BOARD OF REGENTS OF NEW MEXICO
STATE UNIVERSITY, DAN HOWARD in his
individual capacity and official capacity as
Provost; JAMES HOFFMAN in his individual
capacity and official capacity as Dean; ENRICO
PONTELLI in his individual capacity and
official capacity as Hearing Officer, and
NANCY ORETSKIN in her individual capacity
and official capacity.

Defendants.

  PLAINTIFF’S OPPOSITION TO DEFENDANTS’ FIRST MOTION IN LIMINE TO
 EXCLUDE EVIDENCE OF POLITICAL PARTY AFFILIATION OR ALLEGATIONS
     OF BIAS OR DISCRIMINATION BASED ON ANY PROTECTED CLASS

           Plaintiff Dr. Gavin Clarkson, by and through his attorneys of record, the law firm of

Howard & Howard Attorneys PLLC hereby files his Response and Opposition to Defendants’

First Motion in Limine to Exclude Evidence of Political Party Affiliation or Allegations of Bias

or Discrimination Based on Any Protected Class.


     I.       INTRODUCTION

           This case arose because Defendants refused to provide Dr. Clarkson with adequate

procedural due process after Defendants inappropriately terminated Dr. Clarkson’s position as a

tenure tracked associate profession at New Mexico State University (“NMSU”). Defendants now

seek to prematurely exclude evidence in an attempt to gain the upper hand at the time of trial.

Through Defendants’ first Motion in Limine, Defendants request for this Court to step into the


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shoes of the jury, which is improper.

        As this Court is well aware, evidence is deemed relevant – and therefore admissible – if it

has any tendency to make a fact of consequence more or less probable. Further, relevant

evidence is only to be excluded from trial if its probative value is substantially outweighed by a

danger of unfair prejudice to the opposing party. Here, Defendants have failed to demonstrate

how Dr. Clarkson’s political affiliation or his membership in a protective class as a Native

American are irrelevant or how mention of the same would unfairly prejudice Defendants.

        Instead, to exclude Dr. Clarkson’s political affiliation, Defendants simply state that such

affiliation would be unfairly prejudicial because of the “current polarized political climate.” This

is entirely inadequate given that Dr. Clarkson’s political affiliation was indeed discussed during

the pre-determination hearing and the entire basis of Dr. Clarkson’s due process claim is that the

pre-determination hearing was inadequate, tried by a bias hearing officer, and that he was fired

for an illegitimate and discriminatory purpose. It should also be noted that as discussed in the

Opposition to Defendants’ Third Motion in Limine being filed concurrently with this Opposition,

Dr. Clarkson attempted to mitigate damages he suffered by running for political office.

Invariably, Dr. Clarkson’s party affiliation will be included in the discussion of his attempts to

run for office.

        Defendants next seek to exclude reference to any protected class – and provide no

specific examples or analysis of classes they seek to exclude reference to. Ostensibly,

Defendants seek to exclude any reference to Dr. Clarkson’s membership of the Chocktaw

Nation, a federally recognized Indian tribe. Defendants have conceded that Dr. Clarkson indeed

is a member of the Chocktaw Nation. This fact is relevant to Dr. Clarkson’s professional

credentials and his teaching of Native American studies. It will likely also arise in discussions




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related to Dr. Clarkson professional employment while on leave from NMSU. Defendants have

not set forth any facts or evidence to support their claim that evidence of Dr. Clarkson’s

Chocktaw Nation membership would unfairly prejudice Defendants at the time of trial.

         Based on the foregoing, and as will be discussed further below, Dr. Clarkson respectfully

requests that this Court deny Defendants Motion in Limine in its entirety. Defendants have failed

to satisfy their burden of proving that Dr. Clarkson’s political affiliation or his Chocktaw Nation

membership are irrelevant to this matter or that the relevance is substantially outweighed by the

danger of unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time,

or needlessly presenting cumulative evidence.

   II.      STATEMENT OF RELEVANT FACTS

         As noted in Defendants’ Motion, it is undisputed that both Dr. Clarkson’s political

affiliation and his Native American heritage were discussed during Dr. Clarkson’s pre-

determination hearing and throughout the instant lawsuit. See Motion, p. 3. Further, throughout

the entirety of this matter, Dr. Clarkson has been steadfast in his claims against the Defendants.

Put another way, Dr. Clarkson’s political affiliation and Native American heritage have been

foundational archetypes of his due process claims against Defendants. Dr. Clarkson’s First

Amended Complaint specifically alleges that “Defendants Dan Howard, James Hoffman, Ralph

Lucero, and Nancy Oretskin deprived Dr. Clarkson of his constitutionally protected property

interest in continued employment for an illegitimate and/or discriminatory purpose.” See First

Amended Complaint, ¶ 84, [Doc. 27] on file herein.

         Dr. Clarkson has always argued in this matter that he was inappropriately terminated

from NMSU based upon an illegitimate and/or discriminatory purpose. Dr. Clarkson maintains




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that part of the reason or motivation for his unconstitutional termination from NMSU was

because he was a registered republican and his superiors were registered democrats.

          Dr. Clarkson’s pre-determination hearing took place on April 13, 2018. The hearing was

required to be a fair and impartial hearing pursuant to NMSU’s own administrative rules. ARP §

10.50. From the very start of Dr. Clarkson’s opening statement during the pre-determination

hearing, Dr. Clarkson alleged that he was wrongfully discharged from NMSU because he was a

republican. See Clarkson Hearing_Recording 1, at 10:00 – 11:00 [Doc. 75-1], attached to Dr.

Clarkson’s Motion for Partial Summary Judgment, on file herein. Thus, any argument that

political affiliation is not relevant to Dr. Clarkson’s claims in this matter should fall on deaf ears.

Likewise, the granting of the Defendants’ Motion would require redaction of the transcript from

Dr. Clarkson’s pre-determination hearing, however, Defendants have not identified any specific

portions which they find inappropriate.

   III.      STANDARD OF REVIEW

          “A motion in limine is a request for guidance by the court regarding an evidentiary

question, which the court may provide at its discretion to aid the parties in formulating trial

strategy.” Jones v. Stotts, 59 F.3d 143, 146 (10th Cir. 1995) (internal citation omitted). Further, a

motion in limine “gives a court the chance to rule in advance of trial on the relevance of certain

forecasted evidence, as to issues that are definitely set for trial, without lengthy argument at, or

interruption of, the trial.” United States v. Cline, 188 F.Supp.2d 1287, 1291 (D. Kan.2002)

(internal citation omitted). Here, Defendants seek to preclude certain testimony or argument at

trial under Federal Rules of Evidence Rule 401, 402, and 403. Specifically, Defendants seek to

preclude evidence or testimony related to Dr. Clarkson’s political affiliation and his Native

American heritage.




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       Relevant evidence is admissible unless otherwise provided by the United States

Constitution; a federal statute; the federal rules of evidence; or other rules prescribed by the

Supreme Court. Fed. R. Evid. Rule 402.

       Pursuant to Rule 401, evidence is relevant if:

                       (a) it has any tendency to make a fact more or less probable
               than it would be without the evidence; and

                      (b) the fact is of consequence in determining the action.

       Fed. R. Evid. Rule 401. However, the court may exclude relevant evidence if its

probative value is substantially outweighed by a danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence. Fed. R. Evid. Rule 403.

       Unfair prejudice “means an undue tendency to suggest decision on an improper basis,

commonly, though not necessarily, an emotional one.” Fed. R. Evid. 403 Advisory Committee's

Note. “Even if this type of prejudice is found, it must substantially outweigh the probative value

of the evidence in order to be excluded under Rule 403.” United States v. Tan, 254 F.3d 1204,

1212 (10th Cir. 2001) (citing Fed. R. Evid. 403) (emphasis added). “The district court has

considerable discretion in performing the Rule 403 balancing test.” Id., 254 F.3d at 1211; see

also, Thompson v. State Farm Fire and Cas. Co., 34 F.3d 932, 941 (10th Cir. 1994). Importantly,

the Tenth Circuit has routinely found that the exclusion of evidence under Rule 403 that is

otherwise admissible under the other rules “is an extraordinary remedy and should be used

sparingly.” United States v. Rodriguez, 192 F.3d 946, 949 (10th Cir. 1999).

       Here, Defendants misconstrue the relevance of this information. Again, evidence is

relevant so long as “it has any tendency to make a fact [of consequence] more or less probable

than it would be without the evidence.” See Fed. R. Evid. Rule 401. Just because evidence of Dr.



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Clarkson’s political affiliation and his membership of a protected class may harm their defense,

this does not mean the evidence is not admissible.

       A.      Testimony and Evidence of Dr. Clarkson’s Native American Heritage Should
               Not be Excluded from Trial.

       As noted above, Dr. Clarkson’s Native American heritage was discussed during the pre-

determination hearing and has been an undisputed fact contained in every one of Dr. Clarkson’s

pleadings in this matter. See, e.g., Dr. Clarkson’s Declaration in Support of Motion for Partial

Summary Judgment, attached to Motion for Partial Summary Judgment as Exhibit 1, on file

herein. [Doc. 75-1] Defendants’ only argument to suppress evidence of Dr. Clarkson’s Native

American heritage is that Dr. Clarkson has not alleged any claims in this matter related to such

heritage. However, in Dr. Clarkson’s First Amended Complaint, it is clear that Dr. Clarkson’s

Native American heritage is interrelated or interwoven into his claims that Defendants’ breached

his due process right of law as well as his professional qualifications and work history.

Specifically, Dr. Clarkson’s First Amended Complaint alleges, in relevant part, that Defendants

“Dan Howard, James Hoffman, Ralph Lucero, and Nancy Oretskin deprived Dr. Clarkson of his

constitutionally protected property interest in continued employment for an illegitimate and/or

discriminatory purpose.” See First Amended Complaint, ¶ 84, on file herein. Thus, there should

be no dispute that Dr. Clarkson’s Native American heritage is relevant to his due process claim.

As such, evidence of Dr. Clarkson’s Native American heritage should only be excluded if its

probative value is substantially outweighed by a danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.

       Defendants’ Motion wholly fails to meet their extraordinary burden of excluding relevant

evidence. In fact, Defendants fail to even offer a discernable argument how they would be



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substantially prejudiced if Dr. Clarkson’s Native American heritage is brought up during trial. As

such, Defendants’ Motion should be denied in its entirety.

       B.      Testimony and Evidence Related to Other Protected Classes Should Not be
               Excluded as Defendants Have Failed to Identify the Evidence They Want
               Excluded.

       Defendants’ Motion should be denied because they failed to state with the necessary

degree of specificity what evidence it seeks to exclude. It is the movant’s burden on a motion in

limine to demonstrate that the evidence sought be excluded is inadmissible. First Savings Bank,

F.S.B. v. U.S. Bancorp, 117 F. Supp. 2d 1078, 1082 (D. Kan. 2000). Indeed, it is well-established

that it is within a court’s discretion to deny a motion in limine that fails to identify the evidence

to be excluded with particularity or to present its arguments with specificity. United States v.

Cline, 188 F. Supp. 2d 1287, 1292 (D. Kan. 2002); see also, Nat’l Union Fire Ins. Co. of

Pittsburgh, Pa. v. L.E. Meyers Co. Grp., 937 F. Supp. 276, 287 (S.D.N.Y 1996) (motion to

exclude any extrinsic evidence as to the meaning of various insurance policy provisions was “too

sweeping in scope to be decided in limine” because it lacked the “necessary specificity with

respect to the evidence to be excluded or the purported reason for the introduction of such

evidence”).

       Here, aside from specifically requesting that evidence of Dr. Clarkson’s political

affiliation be excluded from trial, Defendants simply set forth generalized requests that fail to

inform Dr. Clarkson and this Court what evidence they would like excluded from trial.

Defendants offer no facts, analysis, or evidence to support their claim that all evidence of other

protected classes should be excluded from trial. Consequently, Defendants failed to meet their

burden and the Motion should be denied.




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       B.      Testimony and Evidence Related to Dr. Clarkson’s Political Affiliation
               Should Not be Precluded at Trial.

       Just as with Dr. Clarkson’s Native American heritage, Dr. Clarkson’s political affiliation

is relevant to the instant litigation. Specifically, Dr. Clarkson’s political affiliation is relevant to

the issue of Defendants’ motivation for improperly terminating Dr. Clarkson. Defendants’

request to exclude any testimony or evidence relating to Dr. Clarkson’s political affiliation is

unsupported by evidence. Notably, Defendants’ only evidence or “support” to exclude mention

of Dr. Clarkson’s political affiliation is their general statement that they would be unfairly

prejudiced due to the “current polarized political climate.” See Motion, p. 5. There is no dispute

that Dr. Clarkson and Defendants’ political affiliations were discussed both prior to and during

the pre-determination hearing. Likewise, as discussed in the Opposition to Defendants’ Third

Motion in Limine being filed concurrently with this Opposition, Dr. Clarkson sought to mitigate

his damages by running for political office. It would be virtually impossible for Dr. Clarkson to

explain his running for political office without reference to his party affiliation.

       As noted above, Dr. Clarkson clearly alleges that Defendants deprived him of “his

constitutionally protected property interest in continued employment for an illegitimate and/or

discriminatory purpose.” See First Amended Complaint, ¶ 84, on file herein (emphasis added).

Political affiliation is protected by the United States Constitution. Hagan v. Quinn, 867 F.3d 816,

824 (7th Cir. 2017). To prove discrimination motivated by political affiliation, an employee

asserting a First Amendment claim on that basis must present evidence relevant to the question

of whether the employee's political affiliation was a motivating factor in the employer’s adverse

employment action. See Daza v. Indiana, 941 F.3d 303 (7th Cir. 2019).

       Should the Court grant Defendants’ Motion, Dr. Clarkson will lose the ability to provide

evidence to support his claim that her was terminated from NMSU for an illegitimate and/or



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discriminatory purpose. Simply stating that the political climate is “polarized” does not meet

Defendants’ high burden to exclude relevant evidence from trial. Because political affiliation is

relevant to Dr. Clarkson’s claims and due to Defendants utter failure to provide substantial

evidence to meet their burden to exclude relevant evidence, the instant Motion must be denied.

   IV.      CONCLUSION

         Dr. Clarkson’s political affiliation and his Native American heritage are both relevant and

any danger of unfair prejudice to Defendants, de minimis. Consequently, Dr. Clarkson

respectfully requests that this Court deny Defendants Motion in its entirety.


Dated: April 9, 2021                   Respectfully Submitted,



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                               CERTIFICATE OF SERVICE
       I hereby certify that on the 9th day of April, 2021 I filed the foregoing PLAINTIFF’S
OPPOSITION TO DEFENDANTS’ FIRST MOTION IN LIMINE TO EXCLUDE
EVIDENCE OF POLITICAL PARTY AFFILIATION OR ALLEGATIONS OF BIAS OR
DISCRIMINATION BASED ON ANY PROTECTED CLASS electronically through
CM/ECF system, which caused all counsel of record to be served electronically:


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